8:05-cr-00162-LSC-TDT         Doc # 160     Filed: 05/11/06    Page 1 of 1 - Page ID # 412




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )           8:05CR162
                      Plaintiff,                  )
                                                  )
         vs.                                      )             ORDER
                                                  )
GENARO FAVALA RAMIREZ,                            )
                                                  )
                      Defendant.                  )



         The oral motion of the parties to continue the evidentiary hearing is granted.
         IT IS ORDERED that the hearing regarding the Motion to Dismiss (Filing No. 106)
is continued to June 8, 2006 at 9:00 a.m. before Magistrate Judge Thomas D. Thalken,
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska.
         Since this is a criminal case, the defendant must be present unless excused by the
Court.
         DATED this 11th day of May, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
